Case 8:10-cr-00188-JSM-MAP Document 75 Filed 12/20/10 Page 1 of 2 PageID 243




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                              CASE NO. 8:10-cr-188-T-30MAP

   CARLOS MARTINEZ DE LA FLOR



                           FORFEITURE MONEY JUDGMENT

          Before the Court is the United States’ Motion for Forfeiture Money Judgment

   (Doc. 72) in the amount of $10,000.00, which upon entry shall become a final order

   of forfeiture as to defendant Carlos Martinez de la Flor.

          Because the defendant has been convicted of the offenses alleged in Count

   One of the Indictment, in violation of 18 U.S.C. § 1201(c), the United States is

   entitled to a forfeiture money judgment against the defendant in the amount of the

   proceeds of the conspiracy. The United States has established that the amount of

   proceeds attributable to the defendant as a result of the conspiracy alleged in Count

   One is at least $10,000.00.

          Accordingly, it is ORDERED and ADJUDGED the United States’ motion (Doc.

   72) is GRANTED.

          Pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c),

   and Federal Rule of Criminal Procedure 32.2(b)(2), defendant Carlos Martinez de

   la Flor is jointly and severally liable with his co-defendants Hector Camejo de la Flor,

   and Alexis Viltres Ramos for a forfeiture money judgment in the amount of
Case 8:10-cr-00188-JSM-MAP Document 75 Filed 12/20/10 Page 2 of 2 PageID 244




   $10,000.00, which represents the amount of proceeds that the defendant obtained

   as a result of the conspiracy for which he was found guilty.

            The Court retains jurisdiction to enter any further order necessary for the

   forfeiture and disposition of any property belonging to defendant, which the United

   States is entitled to seek as substitute assets, up to the amount of the $10,000.00

   forfeiture money judgment, and to entertain any third party claim that may be

   asserted in these proceedings.

            DONE and ORDERED in Tampa, Florida on December 20, 2010.




   Copies to:
   Counsel/Parties of Record
   F:\Docs\2010\10-cr-188.forfeit Carlos 72.wpd




                                                  2
